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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      CRIMINAL NO. 1:21-MJ-460
                                             :
KEVIN DOUGLAS CREEK,                         :
                                             :
                      Defendant.             :


                                     NOTICE OF FILING

       The Government requests that the attached discovery letter, dated July 13, 2021, be made

part of the record in the above-captioned case.

                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             ACTING UNITED STATES ATTORNEY


                                             ________________________________
                                             JACOB J. STRAIN
                                             Utah Bar No. 12680
                                             Assistant United States Attorney
                                             U.S. Attorney’s Office for the District of Columbia
                                             555 4th Street, N.W.
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                                                  U.S. Department of Justice

                                                  CHANNING D. PHILLIPS
                                                  Acting United States Attorney
                                                  District of Utah


                                                    Judiciary Center
                                                    555 Fourth St. N.W.
                                                    Washington, D.C. 20530


                                          July 13, 2021

C. DAVID JOYNER, P.C.
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         RE:    U.S. v. KEVIN DOUGLAS CREEK (1:21-MJ-460)

Dear Counsel,

        Pursuant to our discovery obligations, we have provided the following files via USAfx on
July 13, 2021. Note that many of these files and their related physical attachments are currently
being formally processed for discovery by the discovery team assigned to the Capitol Riots
cases. As such, some of the same files will be re-produced with bates-stamps at a later date.
These files have all been designated as “Sensitive” pursuant to the terms of the Protective Order:

   1.      0176-AT-3403644-FISUR_0000001.pdf
   2.      0176-AT-3403644-FISUR_0000002.pdf
   3.      0176-AT-3403644-FISUR_0000003.pdf
   4.      0176-AT-3403644-FISUR_0000003_1A0000001_0000001.pdf
   5.      0176-AT-3403644-INTELPRODS_0000001.pdf
   6.      0176-AT-3403644-INTELPRODS_0000002.pdf
   7.      0176-AT-3403644-INTELPRODS_0000002_1A0000001_0000001.pdf
   8.      0176-AT-3403644-INTELPRODS_0000002_1A0000001_0000002.docx
   9.      0176-AT-3403644-INTELPRODS_0000002_1A0000001_0000003.pdf
   10.     0176-AT-3403644-INTELPRODS_0000002_1A0000001_0000004.PNG
   11.     0176-AT-3403644-INTELPRODS_0000002_1A0000002_0000001.pdf
   12.     0176-AT-3403644-INTELPRODS_0000002_1A0000002_0000002.xlsx
   13.     0176-AT-3403644-INTELPRODS_0000002_1A0000002_0000003.PNG
   14.     0176-AT-3403644-INTELPRODS_0000002_1A0000002_0000004.PNG
   15.     0176-AT-3403644-INTELPRODS_0000002_1A0000002_0000005.PNG
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16.    0176-AT-3403644-INTELPRODS_0000002_1A0000002_0000006.PNG
17.    0176-AT-3403644-INTELPRODS_0000002_1A0000002_0000007.PNG
18.    0176-AT-3403644-INTELPRODS_0000002_1A0000002_0000008.xlsx
19.    0176-AT-3403644-INTELPRODS_0000002_1A0000002_0000009.PNG
20.    0176-AT-3403644-INTELPRODS_0000002_1A0000002_0000010.PNG
21.    0176-AT-3403644_0000001.pdf
22.    0176-AT-3403644_0000002_Redacted.pdf
23.    0176-AT-3403644_0000003_Redacted.pdf
24.    0176-AT-3403644_0000004.pdf
25.    0176-AT-3403644_0000004_1A0000001_0000001.pdf
26.    0176-AT-3403644_0000005.pdf
27.    0176-AT-3403644_0000005_1A0000003_0000001.pdf
28.    0176-AT-3403644_0000007.pdf
29.    0176-AT-3403644_0000007_1A0000006_0000001.pdf
30.    0176-AT-3403644_0000008.pdf
31.    0176-AT-3403644_0000008_1A0000007_0000001.pdf
32.    0176-AT-3403644_0000009.pdf
33.    0176-AT-3403644_0000009_1A0000008_0000001.PDF
34.    0176-AT-3403644_0000010.pdf
35.    0176-AT-3403644_0000010_1A0000009_0000001.pdf
36.    0176-AT-3403644_0000010_1A0000009_0000002.pdf
37.    0176-AT-3403644_0000010_1A0000010_0000001.pdf
38.    0176-AT-3403644_0000010_1A0000010_0000002.pdf
39.    0176-AT-3403644_0000011.pdf
40.    0176-AT-3403644_0000011_Import.txt
41.    0176-AT-3403644_0000012.pdf
42.    0176-AT-3403644_0000012_1A0000011_0000001.pdf
43.    0176-AT-3403644_0000013.pdf
44.    0176-AT-3403644_0000013_1A0000012_0000001.xlsx
45.    0176-AT-3403644_0000013_1A0000012_0000002.xlsx
46.    0176-AT-3403644_0000013_1A0000012_0000003.xlsx
47.    0176-AT-3403644_0000013_1A0000012_0000004.xlsx
48.    0176-AT-3403644_0000014.pdf
49.    0176-AT-3403644_0000014_1A0000013_0000002.pdf
50.    0176-AT-3403644_0000015_Redacted.pdf
51.    0176-AT-3403644_0000016.pdf
52.    0176-AT-3403644_0000017.pdf
53.    0176-AT-3403644_0000017_1A0000014_0000001.jpg
54.    0176-AT-3403644_0000017_1A0000014_0000002.jpg
55.    0176-AT-3403644_0000017_1A0000014_0000003.jpg
56.    0176-AT-3403644_0000017_1A0000014_0000004.jpg
57.    0176-AT-3403644_0000018.pdf
58.    0176-AT-3403644_0000019.pdf
59.    0176-AT-3403644_0000019_1A0000015_0000001.docx
60.    0176-AT-3403644_0000020.pdf
61.    0176-AT-3403644_0000020_Import.pdf
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62.     0176-AT-3403644_0000021.pdf
63.     0176-AT-3403644_0000021_1A0000016_0000001_PHYSICAL.pdf
64.     0176-AT-3403644_0000021_Import.pdf
65.     0176-AT-3403644_0000022_Redacted.pdf
66.     0176-AT-3403644_0000023.pdf
67.     0176-AT-3403644_0000023_1A0000017_0000001.pdf
68.     0176-AT-3403644_0000023_1A0000018_0000001.pdf
69.     0176-AT-3403644_0000023_1A0000019_0000001.pdf
70.     0176-AT-3403644_0000023_1A0000020_0000001_PHYSICAL.pdf
71.     0176-AT-3403644_0000024_1A0000021_0000001.jpg
72.     0176-AT-3403644_0000024_1A0000021_0000002.jpg
73.     0176-AT-3403644_0000024_1A0000021_0000003.jpg
74.     0176-AT-3403644_0000024_Redacted.pdf
75.     0176-AT-3403644_0000025.pdf
76.     0176-AT-3403644_0000025_1A0000022_0000001.jpg
77.     0176-AT-3403644_0000025_1A0000022_0000002.jpg
78.     0176-AT-3403644_0000025_1A0000022_0000003.jpg
79.     0176-AT-3403644_0000025_1A0000022_0000004.jpg
80.     0176-AT-3403644_0000026.pdf
81.     0176-AT-3403644_0000026_1A0000023_0000001.pdf
82.     0176-AT-3403644_0000026_1A0000023_0000002.pdf
83.     0176-AT-3403644_0000026_1A0000023_0000003.pdf
84.     0176-AT-3403644_0000026_1A0000023_0000004.pdf
85.     0176-AT-3403644_0000026_1A0000023_0000005.pdf
86.     0176-AT-3403644_0000028.pdf
87.     0176-AT-3403644_0000028_Import.pdf
88.     0176-AT-3403644_0000029.pdf
89.     0176-AT-3403644_0000029_Import.pdf
90.     0176-AT-3403644_0000031.pdf
91.     0176-AT-3403644_0000031_1A0000024_0000001.pdf
92.     0176-AT-3403644_0000031_1A0000024_0000002.pdf
93.     0176-AT-3403644_0000032.pdf
94.     0176-AT-3403644_0000032_1A0000025_0000001.pdf
95.     0176-AT-3403644_0000032_1A0000025_0000002.pdf
96.     0176-AT-3403644_0000032_1A0000025_0000003.pdf
97.     0176-AT-3403644_0000032_1A0000025_0000004.pdf
98.     0176-AT-3403644_0000033.pdf
99.     0176-AT-3403644_0000033_1A0000026_0000001.pdf
100.    0176-AT-3403644_0000034.pdf
101.    0176-AT-3403644_0000035.pdf
102.    0176-AT-3403644_0000035_1A0000027_0000001.pdf
103.    0176-AT-3403644_0000036.pdf
104.    0176-AT-3403644_0000037.pdf
105.    0176-AT-3403644_0000038.pdf
106.    0176-AT-3403644_0000038_1A0000028_0000001.pdf
107.    0176-AT-3403644_0000039.pdf
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   108.    0176-AT-3403644_0000040.pdf
   109.    BWC – Jason Mastony.mp4
   110.    Clip of Officer Hodges BWC.mp4
   111.    FBI APO Investigation-Agent Taylor-BWC of Follman.mp4

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are
any categories of information that you believe are particularly relevant to your client.

       This material is subject to the terms of the Protective Order issued in this case.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any
notice within the time period required by the Rules or allowed by the Court for the filing of any
pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me


                                              By: /s/ Jacob J. Strain
                                              JACOB J. STRAIN
                                              Assistant United States Attorney
